Case 22-11079-pmm        Doc 26     Filed 02/29/24 Entered 02/29/24 16:14:31            Desc Main
                                   Document      Page 1 of 2

              IN THE UNITED STATES BANKRUPTCY COURT
             FOR THE EASTERN DISTRICT OF PENNSYLVANIA

In re:                                            : Bankruptcy No. 22-11079-PMM
Norma Osterhout,                                  : Chapter 13
                     Debtor.                      :
________________________________________ :
U.S. Bank National Association, not in its :
individual capacity but solely as trustee for the :
RMAC Trust, Series 2016-CTT,                      :
                     Movant,                      :
              vs.                                 :
Norma Osterhout,                                  :
                     Debtor/Respondent,           :
              and                                 :
Kenneth E. West, Esquire,                         :
                     Trustee/Respondent.          :


                             NOTICE OF MOTION, RESPONSE
                             DEADLINE AND HEARING DATE

       U.S. Bank National Association, not in its individual capacity, but solely as trustee for the
RMAC Trust, Series 2016-CTT, has filed with the US Bankruptcy Court a Motion for Relief
from Stay regarding its rights it has under the mortgage or with respect to the property located at:
358 Chelsea Road, Fairless Hills, PA 19030.

       Your rights may be affected. You should read these papers carefully and discuss
them with your attorney, if you have one in this bankruptcy case. (If you do not have an
attorney, you may wish to consult with an attorney.)

       1.      If you do not want the Court to grant the relief sought in the motion or if you want
the court to consider your views on the motion, then on or before 03/14/2024, you or your
attorney must do all of the following things:


           (a) FILE AN ANSWER explaining your position at:

                                 United States Bankruptcy Court
                                   Robert N.C. Nix Building
                                  900 Market Street, Suite 400
                                  Philadelphia, PA 19107-4299

If you mail your answer to the Bankruptcy Court Clerk’s Office for filing, you must mail is early
enough so that it will be received on or before the date stated above; and
Case 22-11079-pmm        Doc 26     Filed 02/29/24 Entered 02/29/24 16:14:31            Desc Main
                                   Document      Page 2 of 2


           (b) MAIL A COPY of the documents to the Movant’s attorney:

                               Hladik, Onorato & Federman, LLP
                                   298 Wissahickon Avenue
                                    North Wales, PA 19454
                                     Phone 215-855-9521
                                     Fax 215-855-9121
                              Email: dboyle-ebersole@hoflawgroup.com

       2.     If you or your attorney do not take these steps described in paragraphs 1(a) and
1(b) above and attend the hearing, the court may enter an order granting the relief requested in
the motion.

        3.    A HEARING ON THE MOTION is scheduled to be held before the Hon.
Patricia M. Mayer on 03/27/2024 at 01:00 PM in Courtroom No. #1 United States Bankruptcy
Court, Robert N.C. Nix Federal Building, 900 Market Street, 2nd Floor, Philadelphia, PA 19107.

        4.     If a copy of the Motion is not enclosed, a copy of the motion will be provided to
you if you request a copy from the attorney named in paragraph 1(b).

       5.     You may contact the Bankruptcy Court Clerk’s office at (215) 408-2800 to find
out whether the hearing has been canceled because no one filed an answer.


                                             Respectfully Submitted,

Date: 02/29/2024                                 /s/Danielle Boyle-Ebersole
                                                 Danielle Boyle-Ebersole, Esquire
                                                 Attorney I.D. # 81747
                                                 Hladik, Onorato & Federman, LLP
                                                 298 Wissahickon Avenue
                                                 North Wales, PA 19454
                                                 Phone 215-855-9521/Fax 215-855-9121
                                                 dboyle-ebersole@hoflawgroup.com
